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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              Case No. 16-cv-62219-BLOOM/Valle

 HOWARD COHAN,

        Plaintiff,
 v.

 GALT OCEAN FOODS, INC.,
 d/b/a MCDONALD’S #7253,

       Defendant.
 _____________________________________/

                                              ORDER

        THIS CAUSE is before the Court upon Plaintiff Howard Cohan’s (“Plaintiff”) Notice of

 Pending Settlement, ECF No. [10], filed on October 31, 2016, which indicates that the parties

 have reached a settlement of the claims asserted in this case.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

          1. The above-styled action is administratively CLOSED without prejudice to the

              parties to file a stipulation for dismissal on or before November 21, 2016.

          2. The Clerk of Court shall CLOSE this case for administrative purposes only.

          3. All pending deadlines are TERMINATED.

        DONE AND ORDERED in Miami, Florida 31st day of October, 2016.




                                                          _________________________________
                                                          BETH BLOOM
                                                          UNITED STATES DISTRICT JUDGE
 cc:    counsel of record
